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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 19-80080-CR-ALTMAN

  UNITED STATES,

          Plaintiff,

  v.

  DONALD NEHEMIAH WATSON,

        Defendant.
  ______________________________/

                                                  ORDER

          On September 17, 2019, the Defendant, Donald Watson, was convicted of attempting to

  unlawfully bring an alien into the United States and of failing to heave to, in violation of 8 U.S.C. §

  1324(a)(2)(B)(ii) and 18 U.S.C. § 2237(a)(1), respectively. See Judgment [ECF No. 24]. A few months

  later, this Court sentenced Watson to 24 months in prison, to be followed by 24 months of supervised

  release. See id. In September of 2020, Watson filed a pro se motion for compassionate release, citing the

  COVID-19 pandemic and his purported medical issues. See generally Motion for Compassionate

  Release (“Motion”) [ECF No. 30]; Supplement [ECF No. 38].

          We deny Watson’s Motion as moot, however, because he was recently released from prison.

  See United States’ Response in Opposition to Donald Nehemiah Watson’s Motion for Modification

  [ECF No. 31] at 10 (identifying Watson’s release date as April 9, 2021); see also FEDERAL BUREAU OF

  PRISONS: FIND        AN INMATE   (indicating that Watson was released on April 9, 2021), available at

  https://www.bop.gov/inmateloc/. “Completion of a prison term moots a challenge to the term of

  confinement.” United States v. Hernandez, 845 F. App’x 921, 921 (11th Cir. 2021) (citing United States v.

  Farmer, 923 F.2d 1557, 1568 (11th Cir. 1991)).

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        Accordingly, the Court hereby ORDERS and ADJUDGES that the Motion for

  Compassionate Release [ECF No. 30] is DENIED as moot.

        DONE AND ORDERED in Fort Lauderdale, Florida this 28th day of June 2021.




                                                   _________________________________
                                                   ROY K. ALTMAN
                                                   UNITED STATES DISTRICT JUDGE

  cc:   counsel of record
